                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI


Excentus Corporation,                           §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §
                                                      Civil Action No. 12-CV-523-BP
                                                §
QuikTrip Corporation et al.,                    §
                                                §
       Defendants.                              §
                                                §

                          JOINT STIPULATION OF DISMISSAL

       It is stipulated by Plaintiff Excentus Corporation (“Excentus”) and Defendants McKeever

Enterprises, Inc., Bresette Foods, Inc., Four B Corp. d/b/a Ball’s Food Stores, Queen Enterprises,

L.L.C., Cosentino Enterprises, Inc., Cosentino Group, Inc., Cypaul Foods, LLC, Mid Am Food

Enterprises, Inc., Queen-Morris Ventures, PCEKC, LLC (collectively, “Price Chopper

Grocers”), QuikTrip Corporation, and Midax, Inc. (collectively, “Defendants”) that they have

agreed to a settlement in this case in accordance with the terms set forth in the Settlement and

License Agreement between the parties.

       All of Excentus’ claims against the Defendants asserted in this litigation are hereby

dismissed with prejudice consistent with the terms of the Settlement and License Agreement

between Excentus and the Defendants.

       All of the Defendants’ claims against Excentus asserted in this litigation are hereby

dismissed without prejudice consistent with the terms of the Settlement and License Agreement

between Excentus and the Defendants.




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       The parties expressly stipulate that they are subject to the jurisdiction of this Court and

that venue is proper in this District for any action commenced to enforce the terms and

conditions of the Settlement and License Agreement between the parties.

       Each party will be responsible for paying its own costs and expenses, including attorneys’

fees, incurred by it in connection with this case.


FULBRIGHT & JAWORSKI LLP                                 POLSINELLI PC

s/ Brett C. Govett                                       s/ Jay E. Heidrick
Brett C. Govett                                          Jay E. Heidrick
Attorneys for Excentus Corporation                       Attorneys for Price Chopper Grocers and
                                                         QuikTrip Corporation


GREENSFELDER, HEMKER & GALE, P.C.

s/ Mary Ann L. Wymore
Mary Ann L. Wymore
Attorneys for Midax. Inc.


                                 CERTIFICATE OF SERVICE

       I certify on the 9th day of September 2014, the foregoing was filed electronically with the

United States District Court, Western District of Missouri, which sent notification of same, to all

attorneys of record.


                                                                s/ Brett C. Govett
                                                                Brett C. Govett




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